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 1   V. James DeSimone (SBN: 119668)
     Carmen D. Sabater (SBN: 303546)
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 7   LAURA MONTILLA
 8
                                  UNITED STATES DISTRICT COURT
 9
                  CENTRAL DISTRICT OF CALIFORNIA
10    LAURA MONTILLA,            Case No: 2:20-cv-05505
11
              PLAINTIFF,                                   PLAINTIFF’S COMPLAINT
12
                                                           FOR DAMAGES
13            v.
                                                           1. First Amendment Violation (42
14                                                            U.S.C. § 1983)
      CITY OF LOS ANGELES, a                               2. Fourth Amendment Violation (42
15    municipal entity; CHIEF MICHEL                          U.S.C. § 1983)
16    MOORE; THE COUNTY OF LOS                             3. Fourteenth Amendment
                                                              Violation (42 U.S.C. § 1983)
      ANGELES; SHERIFF ALEX                                4. False Arrest/False Imprisonment
17
      VILLANUEVA; and DOES 1-100                           5. Assault and Battery
18    inclusive,                                           6. Negligence
                                                           7. Violation of Bane Civil Rights
19                                                            Act (Civil Code § 52.1)
              DEFENDANTS.                                  8. Intentional Infliction of
20                                                            Emotional Distress
                                                           9. Negligent Infliction of Emotional
21                                                            Distress
22
23                                                         DEMAND FOR JURY TRIAL
24
25
26
27
28
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                           V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                    Carmen D. Sabater, Esq.
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 1           PLAINTIFF, LAURA MONTILLA (hereinafter “PLAINTIFF” or “Ms.
 2   MONTILLA”), for her complaint against DEFENDANTS CITY OF LOS
 3   ANGELES (hereinafter “CITY OF LOS ANGELES” or “CITY”), Police Chief
 4   MICHEL MOORE (hereinafter “MOORE”), COUNTY OF LOS ANGELES
 5   (hereinafter “COUNTY OF LOS ANGELES” or “COUNTY”), SHERIFF ALEX
 6   VILLANUEVA (hereinafter “VILLANUEVA”), and DOES 1-100 (hereinafter
 7   collectively DEFENDANTS), inclusive, alleges as follows:
 8                                            NATURE OF ACTION
 9           1.       This is an action seeks compensatory and punitive damages from
10   DEFENDANTS for violating various rights under state law in connection with
11   officers’ unjustified assault and use of force, handcuffing, arrest and prolonged
12   detention of LAURA MONTILLA by DEFENDANT DOES 1-100 of the Los
13   Angeles Police Department (hereinafter “LAPD”).
14           2.       This action arises out of protests across the United States and other
15   nations following the murder of George Floyd by officers with the Minneapolis
16   Police Department. After the deaths of Breonna Taylor and Ahmaud Arbery and
17   others, hundreds of thousands of people around the country and globe
18   simultaneously expressed the collective condemnation for the deaths of Black,
19   Indigenous and People of Color (hereinafter “BIPOC”) men and women at the
20   hands of law enforcement and vigilantes condoned by local law enforcement and
21   their support for the Black Lives Matter movement. Large demonstrations occurred
22   in the Los Angeles area, and the vast majority of the participants were peaceful,
23   principled individuals exercising their First Amendment Right to assemble to seek
24   redress for grievances. Over the course of approximately a week, the LAPD arrested
25   more than 2600 individuals engaged in peaceful protest.
26           3.       The CITY OF LOS ANGELES has been repeatedly sued for the tactics
27   the LAPD engaged in over the course of the above-mentioned arrests. The LAPD
28   displayed tactics including, but not limited to, kettling protestors before declaring
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1   an unlawful assembly, excessive force with batons and rubber bullets, and
 2   prolonged handcuffing and improper conditions of confinement for arrestees. By
 3   kettling the demonstrators, including PLAINTIFF, detaining, keeping them tightly
 4   handcuffed on buses for over five hours, without access to bathroom facilities, water
 5   or food, DEFENDANTS violated Ms. MONTILLA’s rights under the U.S. and
 6   California Constitution.
 7           4.       DEFENDANTS DOES 1-100 are directly liable for PLAINTIFF’s
 8   injuries under state law pursuant to California Government Code § 820.
 9           5.       DEFENDANTS, CITY OF LOS ANGELES, MOORE, COUNTY OF
10   LOS ANGELES, VILLANUEVA, and DOES 1-100 also proximately caused Ms.
11   MONTILLA’s injuries and are liable under state law pursuant to California
12   Government code §§ 815.2 and 820.
13           6.       The policies and customs behind assaulting and arresting peacefully
14   protesting       civilians        such   as   LAURA    MONTILLA       are   fundamentally
15   unconstitutional and constitute a menace of major proportions to the public.
16   Accordingly, insofar as LAURA MONTILLA herein seeks by means of this action
17   to hold accountable those responsible for the unjustified assault, use of force,
18   handcuffing and detention of LAURA MONTILLA.
19                                     PARTIES AND THEIR AGENTS
20           7.       PLAINTIFF LAURA MONTILLA is a twenty-two-year-old woman,
21   and at all times mentioned in this Complaint was a resident of the County of Los
22   Angeles, California.
23           8.       PLAINTIFF is informed and believed DOES 1-100 are individuals
24   living in the County of Los Angeles, California. At all relevant times, DOES 1-100
25   were public employees and agents of DEFENDANT CITY OF LOS ANGELES
26   and were acting with the course and scope of their respective duties as police
27   officers and with complete authority and ratification of their principal
28   DEFENDANT CITY OF LOS ANGELES.
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1           9.       At all relevant times, DEFENDANTS DOES 1-100 were duly
 2   appointed officers and/or employees or agents of the CITY OF LOS ANGELES or
 3   COUNTY OF LOS ANGELES subject to oversight and supervision by CITY OF
 4   LOS ANGELES or COUNTY OF LOS ANGELES’ elected and non-elected
 5   officials.
 6           10.      PLAINTIFF is informed and believes, and thereon alleges, that DOES
 7   1-100 were agents, servants, and employees of DEFENDANT CITY OF LOS
 8   ANGELES and/or the LAPD or the COUNTY OF LOS ANGELES and/or the Los
 9   Angeles County Sheriff’s. PLAINTIFF is ignorant of the true names and capacities
10   of DEFENDANTS sued herein as DOES 1-100, inclusive, and therefore sue these
11   DEFENDANTS by such fictitious names. PLAINTIFF will amend this Complaint
12   to allege their true names and capacities when ascertained. As such, the individual
13   DOE DEFENDANTS are sued in both their individual and official capacities.
14           11.      In doing the acts and failing and omitting to act as hereinafter
15   described, DEFENDANTS DOES 1-100 were acting on the implied and actual
16   permission and consent of CITY OF LOS ANGELES and MOORE or the
17   COUNTY OF LOS ANGELES and VILLANUEVA.
18           12.      DEFENDANT CITY OF LOS ANGELES is a municipal corporation
19   duly organized and existing under the Constitution and laws of the State of
20   California. LAPD is a local government entity and an agency of CITY OF LOS
21   ANGELES, and all actions of the LAPD are the legal responsibility of the CITY
22   OF LOS ANGELES. CITY OF LOS ANGELES is sued in its own right on the
23   basis of its policies, customs, and practices that gave rise to PLAINTIFF’s federal
24   rights claims.
25           13.      DEFENDANT MICHEL MOORE is, and was, at all times relevant to
26   this action, the LAPD police chief and a policymaker for his department. He is sued
27   in both his individual and official capacities.
28           14.      PLAINTIFF is informed and believes, and thereupon alleges,
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1   DEFENDANT COUNTY OF LOS ANGELES is now, and at all times mentioned
 2   in this Complaint was, a municipal corporation and political subdivision organized
 3   and existing under the laws of the State of California and owns, operates, manages,
 4   directs and controls the LOS ANGELES COUNTY Sheriff’s Department and other
 5   operating departments of the COUNTY.
 6           15.      DEFENDANT ALEX VILLANUEVA is, and was, at all times
 7   relevant to this action, the 33rd Sheriff of LOS ANGELES COUNTY. He is sued
 8   in both his individual and official capacities.
 9           16.      All DEFENDANTS who are natural persons, including DOES 1-100,
10   are sued individually and/or in his/her official capacity as officers, sergeants,
11   captains, commanders, supervisors, and/or civilian employees, agents, policy
12   makers, and representatives for the CITY OF LOS ANGELES or COUNTY OF
13   LOS ANGELES.
14           17.      DEFENDANTS are liable for PLAINTIFF’s injuries under California
15   law and under the doctrine of respondeat superior. Liability under California law
16   for public entities and public employees is based upon California Government Code
17   §§ 815.2 and 820.
18           18.      At all times mentioned herein, each and every DEFENDANT was the
19   agent of each and every other DEFENDANT and had the legal duty to oversee and
20   supervise the hiring, conduct and employment of each and every DEFENDANT
21   herein.
22           19.      On or around June 19, 2020, PLAINTIFF filed comprehensive and
23   timely claims for damages in accordance with Government Code §§ 910 and 911.2.
24           20.      PLAINTIFF will seek leave to amend the Complaint after the CITY
25   OF LOS ANGELES and/or COUNTY OF LOS ANGELES reject(s) the claim for
26   damages.
27           21.      Finally, at all relevant times mentioned herein, all DEFENDANTS
28   acted as agents of all other DEFENDANTS in committing the acts alleged herein.
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1                                      JURISDICTION AND VENUE
 2           22.      This Court has subject matter jurisdiction over the PLAINTIFF’s
 3   claims pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343 (civil
 4   rights jurisdiction). This Court has jurisdiction to issue declaratory or injunctive
 5   relief pursuant to 28 U.S.C. §§ 2201 and 2202 and Federal Rule of Civil Procedure
 6   57.
 7           23.      Venue is proper in the Central District of California pursuant to 28
 8   U.S.C. § 1391, as all DEFENDANTS and the events giving rise to the claims herein
 9   occurred in the Central District of California.
10                     FACTS COMMON TO ALL CAUSES OF ACTION
11           24.      PLAINTIFF repeats and re-alleges each and every allegation in the
12   forgoing paragraphs of this Complaint with the same force and effect as if fully set
13   forth herein.
14           25.      PLAINTIFF LAURA MONTILLA is a 22-year-old woman who
15   currently, and at times relevant to this Complaint, resides in Los Angeles County,
16   California and has recently graduated from the University of Southern California
17   with a degree in public relations.
18           26.      On June 1, 2020, Ms. MONTILLA gathered as part of a peaceful
19   protest in Los Angeles in a display of support for Black Lives Matter and the
20   families and memory of BIPOC deaths at the hands of law enforcement, in
21   particular George Floyd.
22           27.      On May 25, 2020, Minneapolis Police Officer Derek Chauvin, along
23   with two other officers, held George Floyd on the ground, handcuffed behind his
24   back, and ignored pleas to get off his neck, back and legs and let him breathe.
25   Officer Chauvin kept his knee on Floyd’s neck for 8 minutes, forty-six seconds. As
26   a result, Mr. Floyd died on the street in Minneapolis.
27           28.      Both the Minneapolis law enforcement and prosecutors as well as the
28   public, concluded that George Floyd was the latest person to die at the hands of
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1   police because of deliberate and unlawful tactics of law enforcement largely
 2   because of extensive video by onlookers, security cameras, including police body
 3   cameras.
 4           29.      In Los Angeles, tens of thousands of people participated in lawful and
 5   peaceful protest as part of an extraordinary reaction of protests across the country
 6   and around the world. Individuals in the protests expressed their ideas in different
 7   forms.
 8           30.      DEFENDANTS reacted to protests, regardless of form or application,
 9   by employing expansive curfews and arrests for allegedly failing to comply with
10   curfews, failing to disperse, unlawful assembly, failure to follow a “lawful” order
11   of an officer, and similar misdemeanors undermining the right to engage in
12   protected expressive activity in public spaces.
13           31.      California Penal Code § 409, which defines an unlawful assembly, has
14   been repeatedly construed to require a showing of imminent violence that so
15   permeates a lawful expressive activity that law enforcement may curtail the rights
16   of all. In this instance, those facts did not exist.
17           32.      At approximately 4:21 PM on June 1, 2020, Ms. MONTILLA received
18   information that the curfew formally understood to take effect at 6:00 PM on June
19   1, 2020 had been changed to 5:00 PM on June 1, 2020. Ms. MONTILLA attempted
20   to find an exit route to get off the streets to comply with the curfew, but she was
21   repeatedly rebuffed by lines of police in riot gear. Ms. MONTILLA inquired of an
22   LAPD Officer how she could leave to comply with the curfew, but the LAPD
23   Officer responded rudely and aggressively informing her that she would not be
24   permitted to leave the streets which were under curfew.
25           33.      At, or near, 5th and Main Street, Los Angeles, California 90013,
26   DEFENDANTS surrounded PLAINTIFF with a boxed-in tactic known as kettling.
27           34.      After the announcement of a revised curfew, DEFENDANTS engaged
28   in kettling peaceful protestors by surrounding a small number of peaceful citizens,
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1   including Ms. MONTILLA, by a large number of uniformed law enforcement
 2   equipped with less-than-lethal weapons and tactical riot gear.
 3           35.      Ms. MONTILLA personally witnessed law enforcement engage in
 4   kettling tactics without face masks.
 5           36.      Ms. MONTILLA, and others surrounded by the kettling tactic, knelt
 6   on the ground to display compliance.
 7           37.      Ms. MONTILLA personally witnessed officers physically attack,
 8   strike and taser individuals who had attempted to peacefully leave the area in
 9   compliance with the curfew.
10           38.      DEFENDANTS did not at any time provide Ms. MONTILLA with her
11   Miranda Rights.
12           39.      Ms. MONTILLA personally witnessed every law enforcement
13   DEFENDANT interacting with Ms. MONTILLA and other arrestees without
14   protective face masks during a global pandemic.
15           40.      DEFENDANT Doe Officer, employed by the LAPD,                    so tightly
16   handcuffed Ms. MONTILLA in zip ties that she later lost feeling in her right hand,
17   had abrasions and a bruise on her wrist lasting days after her arrest, and caused
18   damage to her arm so extreme that she was unable to use her right hand to sign a
19   citation after her five-hour detainment.
20           41.      Ms. MONTILLA repeatedly asked DEFENDANTS how long she and
21   other arrestees would be detained and where DEFENDANTS were taking them.
22   DEFENDANTS refused to provide any semblance of an answer. Doe defendants
23   employed by the CITY and COUNTY engaged in a joint law enforcement operation
24   resulting in an unlawful and unreasonable seizure of Ms. MONTILLA. The CITY
25   and COUNTY deliberately and callously subjected Ms. MONTILLA and others to
26   torturous, inhumane conditions as described herein.
27           42.      DEFENDANTS included among the arrestees a homeless woman, not
28   participating in the protest, with a mental illness readily apparent to other arrestees,
                                                       5
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 1   who proceeded to have a traumatic panic attack in response to the tactics
 2   DEFENDANTS engaged on the bus with cages holding arrestees.
 3           43.      At, or near, 5th and Main Street, Los Angeles, California 90013,
 4   PLAINTIFF stood while detained for approximately an hour.
 5           44.      At, or near, 5th and Main Street, Los Angeles, California 90013,
 6   DEFENDANTS directed Ms. MONTILLA and other arrestees to board a bus.
 7           45.      DEFENDANTS placed Ms. MONTILLA in a cage on a bus with other
 8   women, while handcuffed without access to food or water and without access to a
 9   bathroom for approximately five hours.
10           46.      Ms. MONTILLA personally witnessed fellow arrestees urinate
11   themselves while detained on the bus without access to bathrooms.
12           47.      DEFENDANTS turned off lights in the bus drastically inhibiting the
13   ability to see for all individuals, including Ms. MONTILLA, on the bus.
14           48.      Ms. MONTILLA personally witnessed several individuals in
15   handcuffs, left in the dark on a bus, heading to an unknown destination endure panic
16   attacks and screams for help.
17           49.      DEFENDANTS heard the screams for help and responded by blaring
18   heavy metal music while Ms. MONTILLA remained handcuffed in a prone position
19   in the dark. The excessively tight handcuffs forced Ms. MONTILLA to experience
20   pain and suffering during the entire time she was bound.
21           50.      Penal Code § 853.6 imposes a mandatory requirement to release
22   misdemeanor violators on their own recognizance in the field or immediately after
23   booking unless individualized probable cause exists to believe that one or more
24   exceptions to the statute exists as a basis to deny or release.
25           51.      The DEFENDANTS provide no reason or justification for their refusal
26   to promptly process and release Ms. MONTILLA when she was initially arrested,
27   but instead DEFENDANTS subjected Ms. MONTILLA to a prolonged detainment
28   without access to food, water, and bathrooms for approximately five hours, where
                                                       5
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 1   she was painfully handcuffed, without any supervision or observation. Subjecting
 2   Ms. MONTILLA, and others, to hours of ongoing physical pain in a mentally
 3   torturous environment was unreasonable, excessive, despicable and in conscious
 4   disregard of her health and safety.
 5           52.      Penal Code § 853.6 and the First Amendment by constitutional
 6   principle require individualized suspicion before fundamental rights may be denied.
 7   There is no reasonable basis Ms. MONTILLA would engage in a similar purported
 8   misdemeanor violation if she had been cited and released in the field.
 9           53.      DEFENDANTS denied                Ms. MONTILLA her individualized
10   assessment of criminal liability that is paramount to due process and had her liberty
11   unlawfully restricted when DEFENDANTS deliberately decided to ignore the
12   explicit command of Penal Code § 853.6.
13           54.      DEFENDANTS’ decision to deny Ms. MONTILLA’s liberty and
14   detain her without justification for a prolonged time violates the First, Fourth, and
15   Fourteenth Amendment rights of Ms. MONTILLA, and DEFENDANTS acted or
16   acted by omission with the specific and deliberate intent to interfere with the
17   exercise of Ms. MONTILLA’s rights to assembly and due process.
18           55.      Throughout            Ms.    MONTILLA’s        prolonged     detainment,
19   DEFENDANTS aggressively touched and groped her body by patting their hands
20   aggressively on her vagina and breasts in four separate instances.
21           56.      Ms. MONTILLA observed that during each pat-down of her person,
22   no officer involved or observing the actions wore a protective face mask.
23           57.      While on the bus, DEFENDANTS confronted the arrestees and many
24   individuals spoke at once. To facilitate communication, the arrestees let Ms.
25   MONTILLA speak on their behalf. When a DEFENDANT DOE officer, appearing
26   to be from the COUNTY OF LOS ANGELES Sheriff’s Department, asked who
27   spoke, Ms. MONTILLA rose to show the source of her voice. In response,
28   DEFENDANT DOE officer reached for his gun and moved in a threatening manner
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1   toward Ms. MONTILLA.
 2           58.      Ms. MONTILLA personally witnessed a DEFENDANT officer slice
 3   the hand of a young woman who complained about the pain her zip tie handcuffs
 4   caused. Ms. MONTILLA personally witnessed the DEFENDANT officer refuse to
 5   assist the bleeding young woman and told her to deal with it on her own.
 6           59.      When Ms. MONTILLA and others were let out of the bus in an
 7   unfamiliar location in Los Angeles County, DEFENDANTS returned possessions
 8   to arrestees by having individuals point to their belongings.
 9           60.      Ms. MONTILLA remained in handcuffs when DEFENDANTS asked
10   her to identify her possessions.
11           61.      When Ms. MONTILLA gestured by slightly leaning toward her small
12   black bag in the back of a large and haphazardly strewn collection of possessions,
13   approximately four DEFENDANTS grabbed their weapons at a handcuffed Ms.
14   MONTILLA.
15           62.      Ms. MONTILLA personally witnessed DEFENDANTS leave a
16   bleeding young woman in tight and painful zip tie handcuffs and send her up an
17   unfamiliar hill without aid or assistance around approximately midnight.
18           63.      Ms. MONTILLA eventually ascertained her whereabouts as a parking
19   lot at, or near, Jackie Robinson Stadium located near 297 Constitution Ave., Los
20   Angeles, California 90049.
21           64.      DEFENDANTS released Ms. MONTILLA and others in this
22   Westwood area at approximately midnight.
23           65.      DEFENDANTS offered no assistance or guidance for Ms.
24   MONTILLA and others wishing to return home.
25           66.      Ms. MONTILLA informed DEFENDANTS her cell phone battery had
26   died, and she did not know anyone in the area or have means to contact someone
27   for help returning home past curfew in an unfamiliar location at approximately
28   midnight. She requested to use a phone to make a call or to charge her phone briefly
                                                       5
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 1   in order to make one call. LAPD Officers denied her request.
 2           67.      Without information or assistance from DEFENDANTS after her
 3   request, Ms. MONTILLA had to resort to entering into a vehicle with a stranger in
 4   an attempt to return home after DEFENDANTS abandoned Ms. MONTILLA
 5   following a prolonged detention in constrictive zip tie handcuffs at approximately
 6   midnight, injured, and denied safety, protection, and proper due process from law
 7   enforcement.
 8           68.      The CITY OF LOS ANGELES, through CHIEF MOORE and the
 9   LAPD, and the COUNTY OF LOS ANGELES, through SHERIFF VILLANUEVA
10   and the LOS ANGELES COUNTY Sheriff’s Department, has failed to train its
11   officers in the constitutional response to peaceful demonstrations as revealed by the
12   above described allegations. DEFENDANTS have a custom of using excessive
13   force against peaceful protestors, kettling lawful assemblies and arresting the
14   participants, and applying policies that result in prolonged detentions in restraints,
15   causing injury and denying liberty based on specious group “suspicion.” The CITY
16   OF LOS ANGELES and/or the COUNTY OF LOS ANGELES have/has been
17   aware of deficiencies in its training since at least 2000 followed by settlement
18   agreements in June 2005 and June 2009 to revise policies and training. Yet the
19   unlawful crowd control, excessive use of force, inter alia DEFENDANTS currently
20   employ fail constitutional requirements.
21                                       FIRST CAUSE OF ACTION
22    FIRST AMENDMENT TO THE U.S. CONSTITUTION (42 U.S.C. § 1983)
23                                     (AGAINST ALL DEFENDANTS)
24           69.      The allegations PLAINTIFF sets forth in this complaint are hereby re-
25   alleged and incorporated by reference.
26           70.      This cause of action is asserted against DEFENDANTS CITY OF LOS
27   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
28   VILLANUEVA, and DOES 1-100.
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1           71.      DEFENDANT’s conduct, described above, violated PLAINTIFF’s
 2   rights to freedom of speech, assembly, and association under the First Amendment
 3   to the United States Constitution. Police declaring unlawful assemblies without
 4   justification interrupted lawful protests that posed no threat.
 5           72.      When Ms. MONTILLA gathered with others in Grand Park, Los
 6   Angeles, LAPD officers ordered Ms. MONTILLA and other individuals gathered
 7   to disband, then used widespread force against Ms. MONTILLA and others
 8   gathered in peaceful protest. LAPD wrongfully arrested Ms. MONTILLA, used
 9   excessive force when handcuffing Ms. MONTILLA, and subjected her to
10   retaliatory and punitive conditions of confinement in retaliation for exercising her
11   First Amendment Rights.
12           73.      The DEFENDANTS employed the above-mentioned tactics under
13   baseless speculation of some potential unlawful activity by some unknown
14   individual(s).
15                                      SECOND CAUSE OF ACTION
16          FOURTH AMENDMENT TO THE U.S. CONSTITUTION (42 U.S.C. §
17                                                  1983)
18                                     (AGAINST ALL DEFENDANTS)
19           74.      The allegations set forth in this complaint are hereby re-alleged and
20   incorporated by reference.
21           75.      This cause of action is asserted against DEFENDANTS CITY OF LOS
22   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
23   VILLANUEVA, and DOES 1-100.
24           76.      DEFENDANTS’               conduct,    described   above,   violated       Ms.
25   MONTILLA’s rights to be free from unreasonable seizures, excessive or arbitrary
26   force, and arrest or detention without reasonable or probable cause under the Fourth
27   Amendment to the United States Constitution. DEFENDANTS detained, seized,
28   handcuffed, and searched Ms. MONTILLA’s person and her personal property.
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                         V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                  Carmen D. Sabater, Esq.
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 1           77.      DEFENDANTS detained Ms. MONTILLA for a prolonged period of
 2   time, which was approximately five hours, handcuffed Ms. MONTILLA
 3   excessively tightly behind her back, and held Ms. MONTILLA on a dark bus in a
 4   cage without access to bathrooms, water or food. LAPD’s confinement of Ms.
 5   MONTILLA and others was inhumane, malicious, and torturous.
 6                                       THIRD CAUSE OF ACTION
 7            FOURTEENTH AMENDMENT TO THE U.S. CONSTITUTION (42
 8                                              U.S.C. § 1983)
 9                                     (AGAINST ALL DEFENDANTS)
10           78.      The allegations set forth in this complaint are hereby re-alleged and
11   incorporated by reference.
12           79.      This cause of action is asserted against DEFENDANTS CITY OF LOS
13   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
14   VILLANUEVA, and DOES 1-100.
15           80.      DEFENDANTS’               conduct,   above   described,      deprived        Ms.
16   MONTILLA of liberty without due process of law under the Fourteenth
17   Amendment to the United States Constitution.
18           81.      PLAINTIFF had a liberty interested created by the California Penal
19   Code § 853.6 to be cited and released for a misdemeanor absent specific information
20   and individualized suspicion that they would immediately repeat the allegedly
21   unlawful conduct if promptly released and not subjected to a prolonged detention.
22           82.      Based on perceived association with protests for Black Lives Matter
23   and against the continued government-sanctioned killings of BIPOC men and
24   women at the hands of law enforcement, when PLAINTIFF was denied
25   individualized assessment and held in custody for approximately five hours,
26   DEFENDANTS uniformly denied PLAINTIFF the mandatory “liberty” interested
27   and codified in California Penal Code § 853.6.
28                                     FOURTH CAUSE OF ACTION
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                            V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                     Carmen D. Sabater, Esq.
Case 2:20-cv-05505-JFW-ADS Document 1 Filed 06/22/20 Page 15 of 26 Page ID #:15




 1                          FALSE ARREST/FALSE IMPRISONMENT
 2                                     (AGAINST ALL DEFENDANTS)
 3           83.      The allegations set forth in this complaint are hereby re-alleged and
 4   incorporated by reference.
 5           84.      This cause of action is asserted against DEFENDANTS CITY OF LOS
 6   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
 7   VILLANUEVA, and DOES 1-100.
 8           85.      DEFENDANTS DOES 1-100 while working as police officers for the
 9   CITY OF LOS ANGELES and/or COUNTY OF LOS ANGELES, and acting
10   within the course and scope of their duties, intentionally deprived PLAINTIFF of
11   her freedom of movement by use of force, including threats of force, menace, fraud,
12   deceit, and unreasonable duress. DEFENDANTS DOES 1-100 also detained Ms.
13   MONTILLA. Said detention was made without reasonable suspicion. LAPD’s
14   arrest of Ms. MONTILLA was without probable cause and any purported curfew
15   violation was caused by LAPD’s conduct. The arbitrary curfew times violated the
16   First Amendment Rights of Ms. MONTILLA and others and rendered these arrests
17   improper and unlawful.
18           86.      PLAINTIFF did not knowingly or voluntarily consent.
19           87.      The conduct of DEFENDANTS was a substantial factor in causing the
20   harm of PLAINTIFF.
21           88.      LOS ANGELES CITY and/or COUNTY OF LOS ANGELES are/is
22   vicariously liable for the wrongful acts of DEFENDANTS DOES 1-100 pursuant
23   to California Government Code § 815.2(a), which provides that a public entity is
24   liable for the injuries caused by its employees within the scope of the employment
25   if the employee’s act would subject him or her to liability. Further, Government
26   Code § 820(a) provides “except as otherwise provided by statute (including Section
27   820.2), a public employee is liable for injury caused by his act or omission to the
28   same extent as a private person.”
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1           89.      As a result of their conduct, DEFENDANTS are liable for Ms.
 2   MONTILLA’S injuries, either because they were integral participants in the assault
 3   and battery, or because they failed to intervene to prevent these violations, or under
 4   the doctrine of respondeat superior.
 5           90.      The conduct of DEFENDANTS DOES 1-100 was malicious, wanton,
 6   oppressive, and accomplished with a conscious disregard for the rights of Ms.
 7   MONTILLA, entitling PLAINTIFF to an award of exemplary and punitive damages
 8   against all non-government entity defendants.
 9           91.      PLAINTIFF is seeking all damages under this claim.
10                                       FIFTH CAUSE OF ACTION
11         ASSAULT AND BATTERY (GOV. CODE § 820 and CALIFORNIA
12                                            COMMON LAW)
13                                     (AGAINST ALL DEFENDANTS)
14           92.      The allegations set forth in this complaint are hereby re-alleged and
15   incorporated by reference.
16           93.      This cause of action is asserted against DEFENDANTS CITY OF LOS
17   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
18   VILLANUEVA, and DOES 1-100.
19           94.      DEFENDANTS DOES 1-100 while working as Police Officers for the
20   CITY Police Department and/or the COUNTY Sheriff’s Department and acting
21   within the course and scope of their duties, wrongfully, unlawfully, intentionally,
22   and violently touched and battered Ms. MONTILLA sustaining serious injuries.
23           95.      DEFENDANTS DOES 1-100 had no legal justification for their
24   actions, and DEFENDANTS DOES’ 1-100 use of force against Ms. MONTILLA,
25   unjustified and repeated aggressive groping of her vagina and breasts, assault, use
26   of force, handcuffing and detention, threatening conduct while MONTILLA was
27   handcuffed, while carrying out their duty as officers and as CITY OF LOS
28   ANGELES and/or COUNTY OF LOS ANGELES employees was an unreasonable
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
Case 2:20-cv-05505-JFW-ADS Document 1 Filed 06/22/20 Page 17 of 26 Page ID #:17




 1   use of force.
 2           96.      DEFENDANTS DOES 1-100 also intentionally used unreasonable
 3   force against Ms. MONTILLA, including, but not limited to, aggressive groping of
 4   her vagina and breasts and tightening handcuffs on Ms. MONTILLA to cause
 5   physical pain, numbness, and lasting bruising and mental and emotional distress
 6   when she posed no threat to the officers or anyone else. Upon information and
 7   belief, PLAINTIFF was assaulted, grabbed, and clenched by handcuffs.
 8           97.      As a direct and proximate result of DEFENDANTS’ conduct as
 9   alleged above, Ms. MONTILLA was caused to suffer severe pain and suffering.
10           98.      LOS ANGELES CITY and/or COUNTY OF LOS ANGELES are/is
11   vicariously liable for the wrongful acts of DEFENDANTS DOES 1-100 pursuant
12   to California Government Code § 815.2(a), which provides that a public entity is
13   liable for the injuries caused by its employees within the scope of the employment
14   if the employee’s act would subject him or her to liability. Further, Government
15   Code § 820(a) provides “except as otherwise provided by statute (including Section
16   820.2), a public employee is liable for injury cased by his act or omission to the
17   same extent as a private person.”
18           99.      PLAINTIFF is informed and believes and thereon alleges that the
19   DEFENDANTS’ conduct was malicious, wanton, oppressive, and accomplished
20   with a conscious disregard for the rights of Ms. MONTILLA, entitling Ms.
21   MONTILLA to an award of exemplary and punitive damages in an amount to be
22   determined at time of trial.
23           100.     As a result of their conduct, DEFENDANTS are liable for Ms.
24   MONTILLA’s injuries, either because they were integral participants in the
25   assault and battery, or because they failed to intervene to prevent these violations,
26   or under the doctrine of respondeat superior.
27           101.     PLAINTIFF is seeking all damages under this claim.
28                                       SIXTH CAUSE OF ACTION
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1    NEGLIGENCE (GOV. CODE § 820 and CALIFORNIA COMMON LAW)
 2                                     (AGAINST ALL DEFENDANTS)
 3           102.     The allegations set forth in this complaint are hereby re-alleged and
 4   incorporated by reference.
 5           103.     This cause of action is asserted against DEFENDANTS CITY OF LOS
 6   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
 7   VILLANUEVA, and DOES 1-100.
 8           104.     The actions of DEFENDANT DOES 1-100 toward Ms. MONTILLA
 9   were negligent and reckless, including, but not limited to:
10                a. The failure to properly and adequately assess the need to detain, arrest,
11                    and use force against PLAINTIFF;
12                b. The failure to monitor and record any use of force by the CITY OF
13                    LOS ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES,
14                    SHERIFF VILLANUEVA, including DEFENDANTS DOES 1-100;
15                c. The failure to monitor and record any injuries specifically caused by
16                    the use of force by the CITY OF LOS ANGELES, CHIEF MOORE,
17                    COUNTY OF LOS ANGELES, SHERIFF VILLANUEVA, including
18                    DEFENDANTS DOES 1-100;
19                d. The negligent tactics and handling of the situation with PLAINTIFF;
20                e. The negligent detention, arrest, and use of force against PLAINTIFF
21                    including placing tight handcuffs on her for an extended period of time
22                    and abandoning her in a darkened cell for five hours with no
23                    opportunity to communicate the torturous pain she was in;
24                f. The failure to properly train and supervise employees, both
25                    professional and non-professional, including DEFENDANTS DOES
26                    1-100;
27                g. The failure to ensure that adequate numbers of employees with
28                    appropriate education and training were available to meet the needs of
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1                    and protect the rights of Ms. MONTILLA;
 2                h. The failure to provide prompt medical care to Ms. MONTILLA; and
 3                i. The negligent handling of evidence and witnesses.
 4           105.     As a direct and proximate result of DEFENDANTS’ conduct as
 5   alleged above, and other undiscovered negligent conduct, PLAINTIFF was caused
 6   to suffer severe pain and suffering, both physically and emotionally.
 7           106.     In addition, at the aforementioned date, time and place,
 8   DEFENDANTS negligently, carelessly and without reasonable care, touched and
 9   violently battered PLAINTIFF.
10           107.     CITY OF LOS ANGELES and/or COUNTY OF LOS ANGELES
11   are/is vicariously liable for the wrongful acts of DEFENDANTS DOES 1-100
12   pursuant to California Government Code § 815.2(a), which provides that a public
13   entity is liable for the injuries caused by its employees within the scope of the
14   employment if the employee’s act would subject him or her to liability. Further,
15   Government Code § 820(a) provides “except as otherwise provided by statute
16   (including Section 820.2), a public employee is liable for injury caused by his act
17   or omission to the same extent as a private person.”
18           108.     The aforementioned acts and omissions of DEFENDANTS DOES 1-
19   100 were committed by them knowingly, willfully and maliciously, with the intent
20   to harm, injure, vex, harass and oppress PLAINTIFF, with conscious disregard to
21   his known rights and deliberate indifference to the risk of injury to PLAINTIFF.
22   By reason thereof, PLAINTIFF seeks punitive and exemplary damages from
23   DEFENDANTS, and each of them, (except DEFENDANT CITY OF LOS
24   ANGELES and/or DEFENDANT COUNTY OF LOS ANGELES) in an amount as
25   proved.
26           109.     DEFENDANTS CITY OF LOS ANGELES and/or COUNTY OF
27   LOS ANGELES, knew or reasonably should have known that DEFENDANTS
28   DOES 1-100 would engage in such a violent misconduct against PLAINTIFF,
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1   during the course and scope of their employment, and that, as a direct and proximate
 2   result of those violations, PLAINTIFF would suffer injuries as alleged herein.
 3           110.     DEFENDANTS had the authority to supervise, prohibit, control,
 4   and/or regulate DEFENDANT officers so as to prevent these acts and omissions
 5   from occurring.
 6           111.     DEFENDANTS failed to exercise due care by hiring, retaining, and
 7   failing to supervise, prohibit, control or regulate DEFENDANTS DOES 1-100. As
 8   a direct and proximate result of DFEENDANTS’ negligent hiring, retention and
 9   supervision, control and regulation of DEFENDANT officers, Ms. MONTILLA has
10   suffered and continues to suffer injuries entitling her to damages in amounts to be
11   proven at trial.
12           112.     By the aforesaid acts and omissions of DEFENDANTS, and each of
13   them, Ms. MONTILLA has been directly and legally caused to suffer actual
14   damages including, but not limited to, extreme pain and suffering both with
15   regards to physical and mental suffering.
16           113.     As a further direct and legal result of the acts and conduct of
17   DEFENDANTS, and each of them, as aforesaid, Ms. MONTILLA has been
18   caused to and did suffer and continues to suffer severe emotional and mental
19   distress, anguish, humiliation, embarrassment, fright, shock, pain, discomfort,
20   anxiety, psychological harm, physical pain and suffering. The exact nature and
21   extent of said injuries is presently unknown to Ms. MONTILLA. PLAINTIFF
22   does not know at this time the exact duration or permanence of said injuries but is
23   informed and believes and thereon alleges that some if not all of the injuries are
24   reasonably certain to be permanent in character.
25           114.     As a result of their conduct, DEFENDANTS are liable for Ms.
26   MONTILLA’s injuries, either because they were integral participants in the assault
27   and battery, or because they failed to intervene to prevent these violations, or under
28   the doctrine of respondeat superior.
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1           115.     PLAINTIFF is informed and believes, and thereon alleges, that the
 2   DEFENDANTS, and each of them, by engaging in the aforementioned acts and/or
 3   in authorizing and/or ratifying such acts, engaged in willful, malicious, intentional,
 4   oppressive and despicable conduct, and acted with willful and conscious disregard
 5   of the rights, welfare and safety of Ms. MONTILLA, thereby justifying the award
 6   of punitive and exemplary damages in an amount to be determined at trial.
 7           116.     PLAINTIFF is seeking all damages under this claim.
 8                                     SEVENTH CAUSE OF ACTION
 9                        VIOLATION OF BANE ACT (CIVIL CODE § 52.1)
10                                     (AGAINST ALL DEFENDANTS)
11           117.     The allegations set forth in this complaint are hereby re-alleged and
12   incorporated by reference.
13           118.     This cause of action is asserted against DEFENDANTS CITY OF LOS
14   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
15   VILLANUEVA, and DOES 1-100.
16           119.     As alleged herein, DEFENDANTS interfered by threats, intimidation,
17   or coercion with PLAINTIFF’s rights under state and federal laws and under the
18   state and federal Constitution including, without limitation, the right to be free from
19   excessive force, the right to due process, and the right to bodily integrity and
20   protection from bodily harm, including his rights under Civil Code § 43, Penal
21   Codes §§ 149, 240, and 242, and her rights under the First, Fourth and Fourteenth
22   Amendments to the United States Constitution and her rights under Article 1,
23   Sections 1, 7 and/or 13 of the United States Constitution and her rights under Article
24   1, Sections 1, 7 and/or 13 of the California Constitution.
25           120.     DEFENDANTS’ conduct caused PLAINTIFF extreme pain and
26   suffering both with regards to physical and mental suffering.
27           121.     As a result of their conduct, DEFENDANTS are liable for Ms.
28   MONTILLA’s injuries, either because they were integral participants in the
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1   misconduct, or because they failed to intervene to prevent these violations, or under
 2   the doctrine of respondeat superior.
 3           122.     As a direct and legal result of DEFENDANTS’ acts and omissions,
 4   Ms. MONTILLA suffered damages, including, without limitation, pain and
 5   suffering, physical injuries and sickness, emotional distress, psychological injury,
 6   medical expenses, attorneys’ fees, and costs of suit.
 7           123.     PLAINTIFF is informed and believes, and thereon alleges, that the acts
 8   of the individual DEFENDANTS were willful, malicious, intentional, oppressive,
 9   reckless and/or were done win willful and conscious disregard of the rights, welfare,
10   and safety of PLAINTIFF, thereby justifying the awarding of punitive and
11   exemplary damages in an amount to be determined at time of trial.
12           124.     PLAINTIFF brings this claim seeking all damages under state law.
13   PLAINTIFF also seeks reasonable attorneys’ fees under this claim.
14                                      EIGHTH CAUSE OF ACTION
15                  INENTIONAL INFLICTION OF EMOTIONAL DISTRESS
16                                       (AGAINST ALL DEFENDANTS)
17           125.     The allegations set forth in this complaint are hereby re-alleged and
18   incorporated by reference.
19           126.     This cause of action is asserted against DEFENDANTS CITY OF LOS
20   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
21   VILLANUEVA, and DOES 1-100.
22           127.     DEFENDANTS DOES 1-100 conduct as described above was
23   extreme and outrageous and was done with the intent of causing Ms. MONTILLA
24   to suffer emotional distress or with reckless disregard as to whether their conduct
25   would cause her to suffer such distress.
26           128.     By the aforesaid acts and omissions of DEFENDANT officers, and
27   each of them, Ms. MONTILLA has been directly and legally caused to suffer actual
28   damages including, but not limited to, extreme pain and suffering both with regards
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1   to physical and mental suffering.
 2           129.     As a further direct and legal result of the acts and conduct of
 3   DEFENDANTS, and each of them, as aforesaid, Ms. MONTILLA has been caused
 4   to and did suffer and continues to suffer physical pain and injury, severe emotional
 5   and mental distress, anguish, humiliation, embarrassment, fright, shock, pain,
 6   discomfort, anxiety, physical pain and suffering. The exact nature and extent of
 7   said injuries is presently unknown to Ms. MONTILLA. PLAINTIFF does not know
 8   at this time the exact duration or permanence of said injuries but is informed and
 9   believes, and thereon alleges, that some if not all of the injuries are reasonably
10   certain to be permanent in character.
11           130.     As a result of their conduct, DEFENDANTS are liable for Ms.
12   MONTILLA’s injuries, either because they were integral participants in the assault
13   and battery, or because they failed to intervene to prevent these violations, or under
14   the doctrine of respondeat superior.
15           131.     PLAINTIFF is informed and believes, and thereon alleges, that the
16   DEFENDANTS, and each of them, by engaging in the aforementioned acts and/or
17   in authorizing and/or ratifying such acts, engaged in willful, malicious, intentional,
18   oppressive and despicable conduct, and acted with willful and conscious disregard
19   of the rights, welfare, and safety of Ms. MONTILLA, thereby justifying the award
20   of punitive and exemplary damages in an amount to be determine at trial.
21                                         NINTH CAUSE OF ACTION
22                   NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
23                                       (AGAINST ALL DEFENDANTS)
24           132.     The allegations set forth in this complaint are hereby re-alleged and
25   incorporated by reference.
26           133.     This cause of action is asserted against DEFENDANTS CITY OF LOS
27   ANGELES, CHIEF MOORE, COUNTY OF LOS ANGELES, SHERIFF
28   VILLANUEVA, and DOES 1-100.
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1           134.     In the alternative, DEFENDANTS DOES 1-100 conduct as described
 2   above was done in a careless or negligent manner, without consideration for the
 3   effect of such conduct upon Ms. MONTILLA’s emotional well-being.
 4           135.     By the aforesaid acts and omissions of DEFENDANT officers, and
 5   each of them, Ms. MONTILLA has been directly and legally caused to suffer actual
 6   damages including, but not limited to, extreme pain and suffering both with regards
 7   to physical and mental suffering.
 8           136.     As a further direct and legal result of the acts and conduct of
 9   DEFENDANTS, and each of them, as aforesaid, Ms. MONTILLA has been caused
10   to and did suffer and continues to suffer physical pain and injury, severe emotional
11   and mental distress, anguish, humiliation, embarrassment, fright, shock, pain,
12   discomfort, anxiety, physical pain and suffering. The exact nature and extent of
13   said injuries is presently unknown to Ms. MONTILLA. PLAINTIFF does not know
14   at this time the exact duration or permanence of said injuries but is informed and
15   believes, and thereon alleges, that some if not all of the injuries are reasonably
16   certain to be permanent in character.
17           137.     As a result of their conduct, DEFENDANTS are liable for Ms.
18   MONTILLA’s injuries, either because they were integral participants in the assault
19   and battery, or because they failed to intervene to prevent these violations, or under
20   the doctrine of respondeat superior.
21           138.     PLAINTIFF is informed and believes, and thereon alleges, that the
22   DEFENDANTS, and each of them, by engaging in the aforementioned acts and/or
23   in authorizing and/or ratifying such acts, engaged in willful, malicious, intentional,
24   oppressive and despicable conduct, and acted with willful and conscious disregard
25   of the rights, welfare, and safety of Ms. MONTILLA, thereby justifying the award
26   of punitive and exemplary damages in an amount to be determine at trial.
27   ///
28   ///
                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1                                           PRAYER FOR RELIEF
 2         WHEREFORE, PLAINTIFF prays for judgment against DEFENDANTS
 3   CITY OF LOS ANGELES, CHIEF MICHEL MOORE, COUNTY OF LOS
 4   ANGELES, SHERIFF ALEX VILLANUEVA, DOES 1-100, and each of them, as
 5   follows:
 6         1.         For general economic and non-economic damages according to proof;
 7         2.         For special damages according to proof;
 8         3.         For punitive damages where allowed by law;
 9         4.         For equitable relief;
10         5.         For prejudgment interest;
11         6.         For costs of suit incurred herein;
12         7.         For attorney’s fees as allowed by law;
13         8.         For civil penalties as allowed by law;
14         9.         For such other and further relief as this Court deems just and proper,
15   and appropriate.
16
17
18   Date: June 22, 2020                                   V. JAMES DESIMONE LAW
19
20                                                         By: /s/ V. James DeSimone
21                                                              V. JAMES DESIMONE, ESQ.
                                                                CARMEN SABATER, ESQ.
22
23
                                                               Attorneys for PLAINTIFF,
24
                                                               LAURA MONTILLA
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                                                       5
                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
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 1                                         DEMAND FOR JURY TRIAL
 2         PLAINTIFF hereby demands a trial by jury.
 3
 4   Date: June 22, 2020                                   V. JAMES DESIMONE LAW
 5
 6                                                         By: /s/ V. James DeSimone
 7                                                              V. JAMES DESIMONE, ESQ.
                                                                CARMEN SABATER, ESQ.
 8
 9                                                             Attorneys for PLAINTIFF,
                                                               LAURA MONTILLA
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                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
     Montilla v. City of Los Angeles                                       V. James DeSimone, Esq.
     Case No.: 2:20-cv-05505                                                Carmen D. Sabater, Esq.
